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                        EXHIBIT 14
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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                  TEXARKANA DIVISION

 CITY OF NEW BOSTON, TEXAS,
 individually and on behalf of all others
 similarly situated,

                Plaintiff,                          Civil Action No. 5:20-cv-00135-RWS

 v.                                                 JURY TRIAL DEMANDED

 NETFLIX, INC. and HULU, LLC,

                Defendants.


  DECLARATION OF MARY ROSE ALEXANDER IN SUPPORT OF NETFLIX, INC.’S
     OPPOSITION TO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

        I, Mary Rose Alexander, pursuant to 28 U.S.C. § 1746, declare as follows:

        1.      I am a partner with the law firm of Latham & Watkins LLP, 330 North Wabash

 Avenue, Suite 2800, Chicago, Illinois 60611, counsel for Defendant Netflix, Inc. I respectfully

 submit this declaration in support of Netflix, Inc.’s Opposition to Plaintiff’s Motion for Class

 Certification (“Opposition”).

        2.      In connection with its Opposition, Netflix submits the April 29, 2021 deposition

 testimony of Plaintiff’s expert David Malfara (Ex. 15) and the May 3, 2021 deposition testimony

 of Plaintiff’s expert David Simon (Ex. 16) in City of Maple Heights v. Netflix, Case No. 1:12-cv-

 01872 (N.D. Ohio).

        3.      Plaintiff has agreed that these Ohio transcripts can be used in this matter and that

 all references to Ohio and the Ohio statute in Mr. Simon’s transcript may be construed as

 references to Texas and the Texas statute at issue here.

        I declare under penalty of perjury that the foregoing is true and correct.
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